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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
HAMPTON DELLINGER                   )
in his personal capacity and        )
in his official capacity as         )
Special Counsel of the              )
Office of Special Counsel,          )
                                    )
                        Plaintiff,  )
                                    )                 Civil Action No. 25-0385 (ABJ)
        v.                          )
                                    )
SCOTT BESSENT                       )
in his official capacity as         )
Secretary of the Treasury, et al.,  )
                                    )
                        Defendants. )
____________________________________)

                                              ORDER

        On Saturday, March 1, 2025, the Court rendered its decision on the merits in this case.
See Mem. Op. [Dkt. # 32]; Order [Dkt. # 33]. It granted plaintiff’s motion for summary judgment
on Count One of his complaint, ordered declaratory judgment and injunction relief, and denied
defendants’ motion for summary judgment. See Order. The same night, defendants noticed an
appeal to the United States Court of Appeals for the District of Columbia. See Notice of Appeal
[Dkt. # 34]. To ensure compliance with Federal Rule of Appellate Procedure 8(a), which requires
them to “ordinarily move first in the district court for” a stay pending appeal, defendants also filed
a motion to stay the Court’s order pending appeal. See Motion to Stay the Ct.’s Order Pending
Appeal [Dkt. # 36].

       The court considers four factors in connection with a motion to stay: (1) whether the stay
applicant has made a strong showing that they are likely to succeed on the merits; (2) whether the
applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will
substantially injure the other parties interested in the proceeding; and (4) where the public interest
lies. Nken v. Holder, 556 U.S. 418, 434 (2009). The Supreme Court has explained that the first
two factors “are the most critical.” Id.

       With respect to the first factor, the Court of Appeals has stated that “[i]t is not enough that
the chance of success on the merits [is] better than negligible.” Id. (internal quotation marks and


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citation omitted). Instead, it must be “substantial[.]” Washington Metro. Area Transit Comm’n v.
Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977). The Court has also observed that a
movant’s failure to satisfy this stringent standard for demonstrating a likelihood of success on the
merits is “an arguably fatal flaw for a stay application.” Citizens for Responsibility & Ethics in
Washington v. Fed. Election Comm’n (“CREW”), 904 F.3d 1014, 1019 (D.C. Cir. 2018) (per
curiam); see Ark. Dairy Co-op Ass’n, Inc. v. U.S. Dep’t of Agric., 573 F.3d 815, 832 (D.C. Cir.
2009) (affirming the denial of injunctive relief where the plaintiff failed to show likelihood of
success on the merits).

        The second factor, similarly, requires more than the mere “possibility of irreparable
injury.” Nken, 556 U.S. at 434 (internal quotation marks and citation omitted). “Irreparable harm
must be ‘both certain and great[,]’ and ‘actual and not theoretical.’” CREW, 904 F.3d at 1019,
quoting Wis. Gas Co. v. F.E.R.C., 758 F.2d 669, 674 (D.C. Cir. 1985). Where there is a low
likelihood of success on merits, a movant must show a proportionally greater irreparable injury,
see Cuomo v. U.S. Nuclear Regulatory Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985), to warrant
the “extraordinary remedy” of a stay. Id. at 978. The last two factors, “the harm to the opposing
party and weighing the public interest . . . merge when the Government is the opposing party.”
Nken, 556 U.S. at 435.

        Here, for all of the reasons stated in the order granting plaintiff’s motion for temporary
restraining order [Dkt. # 14], the order denying defendants’ motion to stay the temporary
restraining order [Dkt. # 19], and the memorandum opinion granting plaintiff’s motion for
summary judgment [Dkt. # 32], the Court cannot find that defendants have a substantial likelihood
of success on the merits of their appeal given the undisputed violation of a clear statutory provision,
and the close nature of the constitutional question which is not controlled by the cited authorities.
Also, importantly, defendants have not met the high burden of demonstrating irreparable harm at
this stage of the proceedings. Any harm to the President’s Article II powers to appoint his own
Special Counsel, the head of a unique agency with limited regulatory power and enforcement
authority, can and will be remedied completely if the Court’s decision is overturned. Finally, as
noted in previous rulings, the public interest in the Special Counsel’s independence outweighs the
defendants’ interests at this time.

       For these reasons, defendants’ motion to stay pending appeal [Dkt. # 36] is DENIED.

       SO ORDERED.



                                                       AMY BERMAN JACKSON
                                                       United States District Judge


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DATE: March 3, 2025




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